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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS

                                                         Civil Action No.: ___________________
JERMIAH HICKS,

                                 Plaintiff,
       vs.                                               COMPLAINT FOR VIOLATIONS OF
                                                         THE FAIR DEBT COLLECTION
                                                         PRACTICES ACT
NATIONAL CREDIT AUDIT CORPORATION,
                                 Defendant.
                                                         DEMAND FOR JURY TRIAL

       Plaintiff Jermiah Hicks (“Plaintiff”) brings this action against defendant National Credit

Audit Corporation (“National Credit” or “Defendant”) and alleges based upon Plaintiff’s personal

knowledge, the investigation of counsel, and information and belief, as follows:

                                       NATURE OF THE ACTION

       1.      This is an action to recover damages under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. §1692, et seq.           Defendant has been furnishing inaccurate account

information that was published on Plaintiff’s credit reports. On May 7, 2020, Plaintiff submitted

a debt validation letter to Defendant disputing the accuracy of reporting and asking Defendant to

validate the details of the account.

       2.      The FDPCA provides that once a consumer disputes the details of an account, the

debt collector is prohibited from re-reporting the account without marking the account as disputed.

Nonetheless, Defendant continued to communicate the information without marking the account

as disputed or otherwise updating the account as necessary. Defendant’s reporting was thus

misleading as a matter of law.

       3.      Plaintiff was later denied an extension of credit based on the misleading

information communicated by Defendant and has been forced to deal with the aggravation and




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humiliation of a poor credit score. Accordingly, Plaintiff is entitled to damages.

                                  JURISDICTION AND VENUE

       4.      The claims asserted in this complaint arise under 15 U.S.C. §1692e of the FDCPA.

This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §1331 and 15

U.S.C. §1692k.

       5.      Venue is proper in this judicial district under 28 U.S.C. §1391(b).

                                             PARTIES

       6.      Plaintiff resides in Tarrant County, Texas, and qualifies as a “consumer” as that

term is defined under 15 U.S.C. §1692a. Plaintiff is an individual.

       7.      Defendant is a Texas corporation and debt collection agency that uses the mail,

telephone, and facsimile, and is registered to do business in this District, the principal purpose of

which is to attempt to collect debts alleged to be due another. Defendant qualifies as a “debt

collector” under the FDCPA.

                               SUBSTANTIVE ALLEGATIONS

       8.      The case involves a National Credit account that was reported on Plaintiff’s Trans

Union credit report. The original creditor of the accounts was Hunters Green. The account was

charged off and purportedly sold to Defendant in April 2019.

       9.      On May 7, 2020, after Plaintiff learned that Defendant communicated inaccurate

information about the collections account, Plaintiff sent a debt validation letter directly to

Defendant disputing the accuracy of information on the account.

       10.     Under the FDCPA, the receipt of Plaintiff’s debt validation letter required

Defendant to cease communicating information about the account without marking the account as

disputed.




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       11.      Nonetheless, Defendant continued to communicate account information without

marking the account as disputed.

       12.      Plaintiff was later denied the extension of further credit based on the inaccurate

communications.

                                      CAUSES OF ACTION

                                                 COUNT I

               Against Defendant for Violation of the FDCPA, 15 U.S.C. § 1692e

       13.      Plaintiff repeats and realleges the foregoing allegations if set forth in full herein.

       14.      15 U.S.C. §1692e prohibits a debt collector from using any false, deceptive, or

misleading representation or means in connection with the collection of any debt. Subsection (8)

of that provision specifically states that “the failure to communicate that a disputed debt is

disputed” is a violation of this section, as follows:

             A debt collector may not use any false, deceptive, or misleading
             representation or means in connection with the collection of any debt.
             Without limiting the general application of the foregoing, the following
             conduct is a violation of this section:

                                             *    *      *
             (8) Communicating or threatening to communicate to any person credit
             information which is known or which should be known to be false,
             including the failure to communicate that a disputed debt is disputed.

                                                                        (emphasis added).




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       15.     Defendant received a debt validation letter from Plaintiff stating that the

information on the account was disputed.

       16.     Nonetheless, Defendant continued to report the details of Plaintiff’s account to the

credit reporting agencies without marking the account as disputed.

       17.     Plaintiff was later denied an extension of credit on the basis of the inaccurate

reporting and has been forced to deal with the aggravation and humiliation of a poor credit score.

       18.     Accordingly, Plaintiff is entitled to damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a judgment:

       a)      awarding Plaintiff statutory money damages, actual damages and punitive

damages;

       b)      awarding attorney’s fees and costs, and other relief; and

       c)      awarding such other relief as to this Court may seem just and proper.

                                      JURY DEMAND
       Plaintiff demands a trial by jury.

DATED: March 18, 2021                        COHEN & MIZRAHI LLP
                                             EDWARD Y. KROUB


                                                                /s/ Edward Y. Kroub
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